                    19-10412-jlg          Doc 1              Filed 02/11/19 Entered 02/11/19 04:07:10                                 Main Document
                                                                           Pg 1 of 47
Fill in this information to identify the case

United States Bankruptcy Court for the:

Southern                    District of    New York
                                           (State)
Case number (If known):                                         Chapter 11

                                                                                                                                                      ☐ Check if this is
                                                                                                                                                      an amended filing

   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                     04/16
  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
  known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


   1.   Debtor’s name                                Ditech Holding Corporation


   2.   All other names debtor used                  Walter Investment Management Corp.
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s         Principal place of business                                                          Mailing address, if different from principal place of business
        address
                         1100                        Virginia Drive                                           3000                        Bayport Drive, Suite 985
                         Number                      Street                                                   Number                      Street


                         Suite 100
                                                                                                              P.O. Box


                         Fort Washington             Pennsylvania         19034                               Tampa                       Florida        33607
                         City                        State                 ZIP Code                           City                        State          ZIP Code

                                                                                                              Location of principal assets, if different from principal place
                                                                                                              of business
                         Montgomery County
                         County
                                                                                                              Number                      Street




                                                                                                              City                        State          ZIP Code



   5.   Debtor’s website (URL)                       www.ditechholding.com


   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:


Official Form 201                                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              Page 1
Debtor
                    19-10412-jlg           Doc 1     Filed 02/11/19 Entered 02/11/19   04:07:10 Main Document
                                                                                  Case number (if known)
                 Ditech Holding Corporation
                 Name                                              Pg 2 of 47


                                              A. Check one:
 7.      Describe debtor’s business
                                              ☐    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              ☐    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              ☐    Railroad (as defined in 11 U.S.C. § 101(44))
                                              ☐    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              ☐    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              ☐    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              ☒    None of the above


                                              B. Check all that apply:
                                              ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   5511


                                              Check one:
 8.      Under which chapter of the
         Bankruptcy Code is the               ☐ Chapter 7
         debtor filing?                       ☐ Chapter 9
                                              ☒ Chapter 11. Check all that apply:
                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                  on 4/01/19 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return or
                                                                  if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                  1116(1)(B).
                                                                ☐ A plan is being filed with this petition.
                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                  Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                  with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                              ☐ Chapter 12
 9.      Were prior bankruptcy cases          ☐ No
         filed by or against the debtor
         within the last 8 years?             ☒ Yes         District     S.D.N.Y.          When       11/30/2017         Case number 17-13446

         If more than 2 cases, attach a                                                                  MM/ DD/ YYYY
         separate list.
                                                            District                       When                          Case number

                                                                                                         MM / DD/ YYYY

 10. Are any bankruptcy cases                 ☐ No
     pending or being filed by a
     business partner or an                   ☒ Yes         Debtor         See attached Schedule 1                       Relationship
     affiliate of the debtor?                               District       Southern District of New York                 When           February 11, 2019
         List all cases. If more than 1,
                                                            Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.



Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         Page 2
Debtor
                    19-10412-jlg       Doc 1          Filed 02/11/19 Entered 02/11/19   04:07:10 Main Document
                                                                                   Case number (if known)
                Ditech Holding Corporation
                Name                                                Pg 3 of 47


   11. Why is the case filed in this             Check all that apply:
       district?
                                                 ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                      immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                 ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                                 ☒ No
     possession of any real
     property or personal property               ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                                   Why does the property need immediate attention? (Check all that apply.)
     attention?                                             ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                 health or safety.
                                                                 What is the hazard?
                                                            ☐    It needs to be physically secured or protected from the weather.
                                                            ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                 without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                 securities-related assets or other options).

                                                            ☐ Other


                                                          Where is the property?
                                                                                             Number                 Street


                                                                                             City                              State               ZIP Code
                                                          Is the property insured?
                                                                                              ☐ No
                                                                                             ☐ Yes. Insurance agency
                                                                                                        Contact Name
                                                                                                        Phone


                Statistical and administrative information


   13. Debtor’s estimation of                Check one:
       available funds                       ☒    Funds will be available for distribution to unsecured creditors.
                                             ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                   
                                             ☐    1-49                                      ☐       1,000-5,000                        ☐   25,001-50,000
       creditors                             ☐    50-99                                     ☐       5,001-10,000                       ☒   50,001-100,000
         (on a consolidated basis)           ☐    100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
                                             ☐    200-999

   15. Estimated assets                      ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)           ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                             ☐    $100,001-$500,000                                                                    ☒   $10,000,000,001-$50 billion
                                                                                            ☐       $50,000,001-$100 million
                                             ☐    $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                            ☐       $100,000,001-$500 million

   16. Estimated liabilities                 ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
       (on a consolidated basis)             ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                             ☐    $100,001-$500,000                                                                    ☒   $10,000,000,001-$50 billion
                                                                                            ☐       $50,000,001-$100 million
                                             ☐    $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                            ☐       $100,000,001-$500 million



Official Form 201                                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                Page 3
Debtor
                    19-10412-jlg       Doc 1       Filed 02/11/19 Entered 02/11/19   04:07:10 Main Document
                                                                                Case number (if known)
                Ditech Holding Corporation
                Name                                             Pg 4 of 47

                Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representative of               this petition.
         debtor
                                                   I have been authorized to file this petition on behalf of the debtor.

                                                   I have examined the information in this petition and have a reasonable belief that the information is
                                                    true and correct.
                                                    I declare under penalty of perjury that the foregoing is true and correct.

                                                        Executed on       February 11, 2019
                                                                             MM/ DD /YYYY



                                                         /s/ Kimberly Perez                                         Kimberly Perez
                                                         Signature of authorized representative of                  Printed name
                                                          debtor

                                                         Senior Vice President and Chief
                                                          Accounting Officer
                                                         Title




     18. Signature of attorney                       /s/ Ray C. Schrock, P.C.                                       Date   February 11, 2019
                                                    Signature of attorney for debtor                                      MM / DD / YYYY

                                                    Ray C. Schrock, P.C.
                                                      Printed Name
                                              
                                                    Weil, Gotshal & Manges LLP
                                                      Firm Name
                                              
                                                    767 Fifth Avenue
                                                      Number              Street
                                              
                                                    New York                                            New York                    10153
                                                      City                                                State                       ZIP Code
                                              

                                                    (212) 310–8000                                      ray.schrock@weil.com
                                                      Contact phone                                       Email address
                                              

                                                    4860631                                             New York
                                                      Bar Number                                          State
                                              




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              Page 4
    19-10412-jlg             Doc 1       Filed 02/11/19 Entered 02/11/19 04:07:10                                      Main Document
                                                       Pg 5 of 47



Fill in this information to identify the case:

Debtor name:          Ditech Holding Corporation
United States Bankruptcy Court for the: Southern District of New York
                                                                        (State)
Case number (If known):                                          Chapter 11



                               Attachment to Voluntary Petition for Non-Individuals
                                     Filing for Bankruptcy under Chapter 11

             If any of the debtor’s securities are registered under Section 12 of the Securities
              1.
Exchange Act of 1934, the SEC file number is 0001040719.
       2.      The following financial data is the latest available information and refers to the
debtor’s condition on September 30, 2018.
              a.     Total assets                                                          $ 12,335,007,0001
              b.     Total debts (including debts listed in 2.c., below)                   $ 12,279,825,0002
              c.     Debt securities held by more than 500 holders

                                                                                                                       Approximate
                                                                                                                       number of holders

                     secured ☒         unsecured ☐          subordinated ☐                 $253,895,875.00 in           Unknown
                                                                                           9.0% Second Lien
                                                                                           Notes3
                     secured ☐         unsecured ☐          subordinated ☐                 $
                     secured ☐         unsecured ☐          subordinated ☐                 $
                     secured ☐         unsecured ☐          subordinated ☐                 $

         d.        Number of shares of preferred stock                                              94,421
         e.        Number of shares common stock                                                   4,982,002

              Comments, if any:


              3.          Brief description of debtor’s business:

              The Debtors originate and service mortgage loans and service reverse mortgage loans on
              an integrated basis.

              Debtor Ditech Financial LLC (“Ditech”), originates and purchases forward mortgage
              loans. Virtually all of the loans that Ditech originates are conforming loans eligible for
1
    Consolidated for Debtor and non-Debtor affiliates.

2
    Consolidated for Debtor and non-Debtor affiliates.

3
 This reflects the face amount of the notes, including the PIK, as of December 15, 2018. It also reflects the balance
provided by the trustee as of February 1, 2019.

Official Form 201a                       Attachment to Voluntary Petition for Non- Individuals Filing for Bankruptcy
    19-10412-jlg        Doc 1       Filed 02/11/19 Entered 02/11/19 04:07:10                      Main Document
                                                  Pg 6 of 47



           securitization by government-sponsored enterprises, such as Fannie Mae and Freddie
           Mac4, or eligible for guarantees by government agencies, such as Ginnie Mae mortgage-
           backed securities.5 As of September 30, 2018, the total unpaid principal balance (“UPB”)
           of the warehoused loans held by Ditech and awaiting securitization was approximately
           $641.2 million.

           Ditech also performs loan servicing of mortgage loans that fall into two
           categories: (i) mortgage loans for which Ditech owns the mortgage service rights
           (“MSRs”), and (2) subservicing for third party owners of MSRs. As of September 30,
           2018, Ditech serviced approximately 1.4 million residential loans with UPB of
           $169 billion.

           Debtor Reverse Mortgage Solutions, Inc. (“RMS”), also services and subservices reverse
           mortgage loans, also known as home equity conversation mortgages (“HECMs”), which
           are insured by the FHA. RMS is an issuer of Ginnie Mae-guaranteed HECM mortgage
           backed securities. As of September 30, 2018, RMS serviced approximately 95,000 loans
           with a UPB of $18.4 billion, of which approximately 38,000 accounts with UPB of
           $8 billion were serviced by RMS as a subservicer for the MSR owner.

           4. List the names of any person who directly or indirectly owns, controls, or holds,
with power to vote, 5% or more of the voting securities of debtor:6

           Lion Point Master, LP; First Pacific Advisors, LLC; Oaktree Capital Management; and
           Deer Park Road Management




4
  As used herein, “Fannie Mae” means the Federal National Mortgage Association, and “Freddie Mac” means the
Federal Home Loan Mortgage Corporation. Fannie Mae and Freddie Mac are government-sponsored enterprises
(each a “GSE” and collectively the “GSEs”) chartered by Congress that buy and securitize mortgage loans
originated by mortgage lenders, thereby enabling such lenders quick access to liquidity fueled by market demand for
residential mortgage backed securities.

5
  As used herein, “Ginnie Mae” means the Government National Mortgage Association. Ginnie Mae is a federal
corporation within the U.S. Department of Housing and Urban Development Federal Housing Administration
(“FHA”), a federal agency, that guarantees investors the timely payment of principal and interest on mortgage
backed securities backed by federally insured or guaranteed loans, primarily loans insured by FHA or guaranteed by
the Department of Veterans Affairs (“VA”) or the Department of Agriculture (“USDA”).

6
    This list of names has been updated to reflect the Debtor’s voting securities as of February 6, 2019.
     19-10412-jlg       Doc 1      Filed 02/11/19 Entered 02/11/19 04:07:10          Main Document
                                                 Pg 7 of 47



                                                 Schedule 1

               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

   On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
   11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
   in the United States Bankruptcy Court for the Southern District of New York (the “Court”). A
   motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
   below be consolidated for procedural purposes only and jointly administered pursuant to Rule
   1015(b) of the Federal Rules of Bankruptcy Procedure.

               COMPANY                           CASE              DATE FILED         DISTRICT JUDGE
                                                NUMBER

Green Tree Credit LLC                          19-______( )      February 11, 2019     S.D.N.Y.     Pending
Ditech Holding Corporation                     19-______( )      February 11, 2019     S.D.N.Y.     Pending
DF Insurance Agency LLC                        19-______( )      February 11, 2019     S.D.N.Y.     Pending
Ditech Financial LLC                           19-______( )      February 11, 2019     S.D.N.Y.     Pending
Green Tree Credit Solutions LLC                19-______( )      February 11, 2019     S.D.N.Y.     Pending
Green Tree Insurance Agency of Nevada, Inc.    19-______( )      February 11, 2019     S.D.N.Y.     Pending
Green Tree Investment Holdings III LLC         19-______( )      February 11, 2019     S.D.N.Y.     Pending
Green Tree Servicing Corp.                     19-______( )      February 11, 2019     S.D.N.Y.     Pending
Marix Servicing LLC                            19-______( )      February 11, 2019     S.D.N.Y.     Pending
Mortgage Asset Systems, LLC                    19-______( )      February 11, 2019     S.D.N.Y.     Pending
REO Management Solutions, LLC                  19-______( )      February 11, 2019     S.D.N.Y.     Pending
Reverse Mortgage Solutions, Inc.               19-______( )      February 11, 2019     S.D.N.Y.     Pending
Walter Management Holding Company LLC          19-______( )      February 11, 2019     S.D.N.Y.     Pending
Walter Reverse Acquisition LLC                 19-______( )      February 11, 2019     S.D.N.Y.     Pending
19-10412-jlg   Doc 1   Filed 02/11/19 Entered 02/11/19 04:07:10   Main Document
                                     Pg 8 of 47



                                     Exhibit A

                        Resolutions of the Board of Directors
 19-10412-jlg     Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                          Pg 9 of 47



                                 RESOLUTIONS OF THE
                             THE BOARD OF DIRECTORS OF
                            DITECH HOLDING CORPORATION

                                       February 10, 2019


                WHEREAS, Ditech Holding Corporation (the “Company”), with the assistance
of financial and legal advisors, has been conducting a review of strategic alternatives, including
the potential sale of the Company, a sale of all or a portion of the Company’s assets, and/or a
recapitalization of the Company;

                WHEREAS, the Board of Directors (the “Board”) of the Company previously
established a special committee of the Board composed of independent and disinterested
directors (the “Special Committee”) to assist management of the Company in evaluating,
exploring and negotiating strategic alternatives, and recommending to the Board whether to
approve any such potential transaction;

               WHEREAS, upon recommendation of the Special Committee, the Board
previously approved the form, terms and provisions of, and the execution, delivery, and
performance of, and, on February 8, 2019, the Company entered into, the restructuring support
agreement (the “RSA”) with an ad hoc group of lenders (the “Term Loan Lenders”) holding
more than 75% of the aggregate total principal amount of the Company’s senior secured first lien
term loan, borrowed pursuant to the Second Amended and Restated Credit Agreement, dated as
of February 9, 2018 (as amended, supplemented or otherwise modified, the “Credit Agreement”)
establishing the Term Loan Lenders’ support for a prearranged chapter 11 plan of reorganization;

                WHEREAS, upon recommendation of the Special Committee, the Board
previously approved, and on February 8, 2019, the Company entered into, the Commitment
Letter (the “Commitment Letter”), by and among the Company as Guarantor, its wholly-owned
direct subsidiaries Reverse Mortgage Solutions, Inc. (“RMS”) and Ditech Financial LLC
(“Ditech”) as Sellers, Barclays Bank PLC (“Barclays”) as Administrative Agent and as Buyer
and Nomura Corporate Funding Americas, LLC (“Nomura”) as Buyer (together with Barclays in
its capacity as Buyer, the “Buyers”), pursuant to which the Buyers committed to provide new
debtor-in-possession financing in an amount of up to $1.9 billion on terms and subject to
conditions set forth in the Commitment Letter and the term sheet attached thereto;

                WHEREAS, the Board has met on various occasions to review and has had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of the Company regarding the liabilities and liquidity of the Company, the
strategic alternatives available to it and the impact of the foregoing on the Company’s business;
and

               WHEREAS, in connection therewith, the Board desires to approve the following
resolutions.
 19-10412-jlg     Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10             Main Document
                                         Pg 10 of 47



               NOW, THEREFORE, BE IT HEREBY

Commencement of Chapter 11 Cases

                 RESOLVED, that, upon recommendation of the Special Committee, the Board
has determined, after consultation with the management and the legal and financial advisors of
the Company, that it is desirable and in the best interests of the Company, its creditors, and other
parties in interest to approve and authorize the filing of petitions by the Company and certain of
its subsidiaries, including RMS and Ditech, seeking relief under the provisions of chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the Southern District of New York (the “Bankruptcy Court”); and be it further

                RESOLVED, that upon recommendation of the Special Committee, the Board
has determined, after consultation with the management and the legal and financial advisors of
the Company, that it is desirable and in the best interests of the Company, its creditors, and other
parties in interest that the Company and its advisors prepare, finalize and file, as appropriate, the
prearranged chapter 11 plan of reorganization (the “Plan”) and related disclosure statement (the
“Disclosure Statement”) consistent with the terms of the RSA;

                RESOLVED, that any officer of the Company (each, an “Authorized Officer”),
in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed to execute and file in the name and on behalf of the Company all petitions, schedules,
motions, lists, applications, pleadings, and other papers in the Bankruptcy Court, and, in
connection therewith, to employ and retain all assistance by legal counsel, accountants, financial
advisors, investment bankers and other professionals, and to take and perform any and all further
acts and deeds which such Authorized Officer deems necessary, proper, or desirable in
connection with the chapter 11 cases (the “Chapter 11 Cases”), the Plan and the Disclosure
Statement, including, without limitation, negotiating, executing, delivering and performing any
and all documents, agreements, certificates and/or instruments in connection with the
transactions and professional retentions set forth in these resolutions, with a view to the
successful prosecution of the Chapter 11 Cases; and be it further

Debtor-in-Possession Financing

                RESOLVED, that in connection with the Chapter 11 Cases, and as previously
authorized and agreed to by Ditech and RMS in connection with the Commitment Letter, and
upon recommendation of the Special Committee, it is in the best interest of the Company,
Ditech, RMS, RMS REO CS, LLC (“RMS REO CS”), RMS REO BRC, LLC (“RMS REO
BRC”) and RMS REO BRC II, LLC (“RMS REO BRC II”) to engage in, and the Company,
Ditech, RMS, RMS REO CS, RMS REO BRC and RMS REO BRC II will obtain benefits from,
the financing transactions contemplated by the agreements listed on Schedule A hereto and any
and all of the other agreements, including, without limitation, any other guarantees, certificates,
documents and instruments authorized, executed, delivered, reaffirmed, verified and/or filed in
connection with the Debtor-in-Possession Financing (as defined below) (together with the
transaction documents listed on Schedule A, collectively, the “DIP Financing Documents”),
which, subject to the approval of the Bankruptcy Court, will provide the Company, Ditech, RMS
and RMS REO BRC II up to $1.9 billion in available warehouse financing, which is necessary




                                                  2
 19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                        Pg 11 of 47



and appropriate for the conduct, promotion and attainment of the business of the Company and
its subsidiaries, including Ditech, RMS and RMS REO BRC II (the “Debtor-in-Possession
Financing”) (capitalized terms used in this section with respect to Debtor-in-Possession
Financing and not otherwise defined herein shall have the meanings ascribed to such terms in the
Commitment Letter or the term sheet attached thereto); and be it further

                RESOLVED, that the Company’s performance of its obligations under the DIP
Financing Documents, including the borrowings and guarantees contemplated thereunder, are
hereby, in all respects confirmed, ratified and approved; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered and
directed, in the name and on behalf of the Company, to cause the Company to negotiate and
approve the terms, provisions of and performance of, and to prepare, execute and deliver the DIP
Financing Documents, on substantially the same terms and conditions presented to the Board, in
the name and on behalf of the Company under its corporate seal or otherwise, and such other
documents, agreements, instruments and certificates as may be required by the Administrative
Agent or required by the DIP Financing Documents; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, as part of the
adequate protection to be provided to the lenders and administrative agent under the Credit
Agreement, to grant replacement security interests in, and replacement liens on, any and all
property of the Company as collateral pursuant to the Bankruptcy Court’s orders to secure all of
the obligations and liabilities of the Company thereunder, and to authorize, execute, verify, file
and/or deliver to the administrative agent, on behalf of the Company, all agreements, documents
and instruments required by the lenders or the administrative agent under the Credit Agreement
in connection with the foregoing; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to take all such further actions including,
without limitation, to pay all fees and expenses, in accordance with the terms of the DIP
Financing Documents, which shall, in such Authorized Officer’s judgment, be necessary, proper
or advisable to perform the Company’s obligations under or in connection with the DIP
Financing Documents and the transactions contemplated therein and to carry out fully the intent
of the foregoing resolutions; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of any of the DIP Financing Documents which shall, in such Authorized Officer’s sole judgment,
be necessary, proper or advisable; and be it further

Retention of Advisors

                RESOLVED, that, upon recommendation of the Special Committee, in
connection with the Chapter 11 Cases, any Authorized Officer, in each case, acting singly or
jointly, be, and each hereby is, authorized, empowered, and directed, with full power of
delegation, in the name and on behalf of the Company, to employ and retain all assistance by




                                                3
 19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                        Pg 12 of 47



legal counsel, accountants, financial advisors, investment bankers and other professionals, on
behalf of the Company, which such Authorized Officer deems necessary, appropriate or
advisable in connection with, or in furtherance of, the Chapter 11 Cases, with a view to the
successful prosecution of the Chapter 11 Cases (such acts to be conclusive evidence that such
Authorized Officer deemed the same to meet such standard); and be it further

               RESOLVED, that the firm of Houlihan Lokey Capital, Inc., located at 10250
Constellation Blvd., 5th Floor, Los Angeles, California 90067, is hereby retained as investment
banker for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be
it further

              RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, NY 10153, is hereby retained as counsel for the Company in the
Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that the firm of AlixPartners, located at 909 Third Avenue, New
York, New York 10022, is hereby retained as financial advisor for the Company in the Chapter
11 Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777
Third Avenue, 12th Floor, New York, New York 10017, is hereby retained as claims, noticing,
and solicitation agent and administrative advisor for the Company in the Chapter 11 Cases,
subject to Bankruptcy Court approval; and be it further

Approval of Actions of Subsidiaries

                 RESOLVED, that in the judgment of the Board, it is desirable and in the best
interests of certain of the Company’s direct and indirect subsidiaries for each such entity or
entities to take any and all action, including related to the DIP Financing Documents, Debtor-in-
Possession Financing and filing in the Bankruptcy Court, and to execute and deliver all
documents, agreements, motions and pleadings as are necessary, proper, or desirable to enable
such subsidiary to carry out the DIP Financing Documents, Debtor-in-Possession Financing and
filing in the Bankruptcy Court contemplated hereby, including granting any director, officer, or
other authorized representative as applicable according to local law, the authority to take action
in support thereof; and be it further

General

                RESOLVED, that any Authorized Officer is hereby authorized, empowered and
directed, in the name and on behalf of the Company, to cause the Company to enter into,
execute, deliver, certify, file and/or record, perform and approve any necessary public
disclosures and filings related to, such documents, agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities and certificates
as may be required in connection with the Chapter 11 Cases, DIP Financing Documents and
Debtor-in-Possession Financing, and to take such other actions that in the judgment of the
Authorized Officer shall be or become necessary, proper or desirable in connection therewith;
and be it further




                                                4
 19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                        Pg 13 of 47



                RESOLVED, that any actions taken by any Authorized Officer, for or on behalf
of the Company, prior to the date hereof that would have been authorized by these resolutions
but for the fact that such actions were taken prior to the date hereof be, and they hereby are,
authorized, adopted, approved, confirmed and ratified in all respects as the actions and deeds of
the Company.




                                                5
19-10412-jlg   Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                     Pg 14 of 47



                                       Schedule A

 1. Master Refinancing Agreement, dated as of the Closing Date, by and among Barclays, as
    administrative agent for the Buyers (as defined therein) and other Secured Parties (as
    defined therein), Barclays and Nomura, each as a Buyer (as defined therein), Barclays
    Capital Inc. and Nomura Securities International, Inc., each as an MSFTA Counterparty
    (as defined therein), Ditech and Reverse Mortgage Solutions, Inc., each as a Seller (as
    defined therein) and RMS REO BRC II, LLC, as REO Subsidiary (as defined therein)
    (the “Omnibus Agreement”).

 2. Master DIP Fee Letter, dated as of the Closing Date, among Barclays, as administrative
    agent, Barclays and Nomura, as Committed Buyers (as defined therein), Ditech, RMS
    and Ditech Holding Corporation.

 3. Master DIP Guaranty, dated as of the Closing Date, made by Guarantor in favor of
    Barclays, as Administrative Agent, for the benefit of Buyers and the other Buyer Parties
    (as defined therein).

 4. Margin, Setoff and Netting Agreement, dated as of the Closing Date, among Barclays, as
    Administrative Agent, Barclays Capital, Inc., Nomura Securities International, Inc.,
    Nomura, Ditech, RMS, and RMS REO BRC II, LLC and acknowledged and agreed to by
    Ditech Holding Corporation.

 5. Master Administration Agreement, dated as of the Closing Date, among Barclays, as
    Administrative Agent for the Buyers and other Secured Parties (as defined therein),
    Barclays and Nomura, each as a Buyer (as defined therein), Barclays Capital Inc. and
    Nomura Securities International, Inc., each as a MSFTA Counterparty (as defined
    therein), Ditech and RMS, each as a Seller (as defined therein), and RMS REO BRC II,
    LLC as REO Subsidiary (as defined therein).

 6. Amended and Restated Master Repurchase Agreement, dated as of the Closing Date, by
    and among Barclays and Nomura, as Purchasers (as defined therein), Barclays, as Agent
    (as defined therein), RMS and RMS REO BRC II, LLC.

 7. Amended and Restated Pricing Side Letter, dated as of the Closing Date, among
    Barclays, as Purchaser and Agent, Nomura, as Purchaser, RMS and RMS REO BRC II,
    LLC.

 8. Assignment Agreement, dated as of the Closing Date, between RMS REO CS, LLC and
    RMS.

 9. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC, LLC
    and RMS.

 10. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC II, LLC
     and RMS.
19-10412-jlg   Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10             Main Document
                                      Pg 15 of 47



 11. Amended and Restated Custodial Agreement, dated as of the Closing Date, by and
     among RMS REO BRC II, LLC (the “REO Subsidiary”), RMS, Deutsche Bank National
     Trust Company, as custodian for Purchasers (as defined therein) and for the REO
     Subsidiary, Barclays and Nomura, as Purchasers (as defined therein), and Barclays, as
     Agent (as defined therein).

 12. Amended and Restated Deposit Account Control Agreement, dated as of the Closing
     Date, by and among RMS, Barclays, as Agent (as defined therein), and Wells Fargo
     Bank, National Association.

 13. Amendment No. 1 to the Limited Liability Company Agreement of RMS REO BRC II,
     LLC, dated as of the Closing Date, entered into by RMS, as the sole member, RMS REO
     BRC II, LLC, and consented to by Barclays, as Agent.

 14. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as
     amended, restated, supplemented or otherwise modified as of the date hereof, the
     “Agency Facility Indenture”), by and among Ditech Agency Advance Trust, as issuer
     (the “Agency Facility Issuer”), Wells Fargo Bank, N.A. (“Wells Fargo”), as indenture
     trustee (in such capacity, the “Agency Facility Indenture Trustee”), calculation agent,
     paying agent and securities intermediary, Ditech, as administrator (in such capacity, the
     “Agency Facility Administrator”) and as servicer (in such capacity, the “Agency Facility
     Servicer”) and Barclays, as administrative agent (in such capacity, the “Agency Facility
     Administrative Agent”) (successor to Credit Suisse First Boston Mortgage Capital LLC,
     as initial administrative agent).

 15. Series 2019-VF1 Indenture Supplement to Agency Facility Indenture, dated as of the
     Closing Date, by and among the Agency Facility Issuer, the Agency Facility Indenture
     Trustee (as indenture trustee, calculation agent, paying agent and securities intermediary),
     the Agency Facility Administrator, the Agency Facility Servicer and the Agency Facility
     Administrative Agent.

 16. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February
     12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
     hereof, the “Agency Facility Receivables Sale Agreement”), by and among the Agency
     Facility Servicer, as servicer and as the receivables seller (in such capacity, the “Agency
     Facility Receivables Seller”), Ditech Agency Advance Depositor LLC, as depositor (the
     “Agency Facility Depositor”) and the Company, as guarantor.

 17. Amendment No.1 to the Agency Facility Receivables Sale Agreement, dated as of the
     Closing Date, by and among the Agency Facility Servicer, the Agency Facility
     Receivables Seller, the Agency Facility Depositor and the Company, as guarantor.

 18. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
     2018, by and between the Agency Facility Depositor and the Agency Facility
     Receivables Seller.
19-10412-jlg   Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                     Pg 16 of 47



 19. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of
     February 12, 2018, by and between the Agency Facility Depositor and the Agency
     Facility Issuer.

 20. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
     2018, by and between the Agency Facility Depositor and the Agency Facility Issuer.

 21. Administration Agreement, dated as of February 9, 2018 and effective as of February 12,
     2018, by and between the Agency Facility Issuer and the Agency Facility Administrator.

 22. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as
     of February 9, 2018 and effective as of February 12, 2018 (as amended, restated,
     supplemented or otherwise modified as of the date hereof, the “Agency Facility
     Acknowledgment Agreement”), by and among the Agency Facility Issuer, the Agency
     Facility Depositor, the Agency Facility Servicer, the Agency Facility Indenture Trustee,
     Fannie Mae and the Agency Facility Administrative Agent.

 23. Amendment No. 1 to the Agency Facility Acknowledgment Agreement, dated as of April
     20, 2018, by and among the Agency Facility Issuer, the Agency Facility Depositor, the
     Agency Facility Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the
     Agency Facility Administrative Agent.

 24. Amendment No. 2 to the Agency Facility Acknowledgment Agreement, dated as of the
     Closing Date, by and among the Agency Facility Issuer, the Agency Facility Depositor,
     the Agency Facility Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the
     Agency Facility Administrative Agent.

 25. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing
     Date, (the “Agency Facility Note Purchase Agreement”), by and among Ditech, as the
     Agency Facility Servicer, the Agency Facility Administrator and the Agency Facility
     Receivables Seller, the Agency Facility Depositor, the Agency Facility Issuer, the
     Administrative Agent, and Barclays, as a Purchaser Agent (“Agency Facility Purchaser”).

 26. Ditech Agency Advance Trust Advance Receivables Backed Note, Series 2019-VF1
     Note, Number 1 (the “Agency Facility Note”), dated as of the Closing Date, in the name
     of the Agency Facility Purchaser.

 27. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
     February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the
     date hereof, the “Agency Facility Trust Agreement”), by and among the Agency Facility
     Depositor, Wilmington Trust, National Association, as the owner trustee (in such
     capacity, the “Agency Facility Owner Trustee”), and the Agency Facility Administrator.

 28. Amendment No.1 to the Agency Facility Trust Agreement, dated as of the Closing Date,
     by and among the Agency Facility Depositor, Wilmington Trust, National Association,
     the Agency Facility Owner Trustee and the Agency Facility Administrator.
19-10412-jlg   Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                      Pg 17 of 47



 29. Amended and Restated Limited Liability Company Agreement of the Agency Facility
     Depositor (the “Agency Facility Depositor LLC Agreement”), dated as of February 9,
     2018 and effective as of February 12, 2018, by and among Ditech, as the sole economic
     member of the Agency Facility Depositor and Albert Fioravanti, as the Special Member
     and Independent Manager of the Agency Facility Depositor.

 30. Amendment No. 1 to the Agency Facility Depositor LLC Agreement, dated as of the
     Closing Date, made by Ditech, as the sole economic member of the Agency Facility
     Depositor and consented to by Albert Fioravanti, as the Special Member and Independent
     Manager of the Agency Facility Depositor and Barclays, as sole noteholder.

 31. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as
     amended, restated, supplemented or otherwise modified as of the date hereof, the “PLS
     Facility Indenture”), by and among Ditech PLS Advance Trust II, as issuer (the “PLS
     Facility Issuer”), Wells Fargo Bank, as indenture trustee (in such capacity, the “PLS
     Facility Indenture Trustee”), calculation agent, paying agent and securities intermediary,
     Ditech, as administrator (in such capacity, the “PLS Facility Administrator”) and as
     servicer (in such capacity, the “PLS Facility Servicer”) and Barclays, as administrative
     agent (in such capacity, the “PLS Facility Administrative Agent”) (successor to Credit
     Suisse First Boston Mortgage Capital LLC, as initial administrative agent).

 32. Series 2019-VF1 Indenture Supplement to PLS Facility Indenture, dated as of the Closing
     Date (the “PLS Facility Indenture Supplement”), by and among the PLS Facility Issuer,
     the PLS Facility Indenture Trustee (as indenture trustee, calculation agent, paying agent
     and securities intermediary), the PLS Facility Administrator, the PLS Facility Servicer
     and the PLS Facility Administrative Agent.

 33. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February
     12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
     hereof, the “PLS Facility Receivables Sale Agreement”), by and among the PLS Facility
     Servicer, as servicer and as the receivables seller (in such capacity, the “PLS Facility
     Receivables Seller”), Ditech PLS Advance Depositor LLC, as depositor (the “PLS
     Facility Depositor”) and the Company, as guarantor.

 34. Amendment No.1 to the PLS Facility Receivables Sale Agreement, dated as of the
     Closing Date, by and among the PLS Facility Servicer, the PLS Facility Receivables
     Seller, the PLS Facility Depositor and the Company, as guarantor (“PLS Facility
     Receivables Sale Agreement Amendment”).

 35. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
     2018 (the “PLS Facility Assignment of Receivables”), by and between the PLS Facility
     Depositor and the PLS Facility Receivables Seller.

 36. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of
     February 12, 2018 (the “PLS Facility Receivables Pooling Agreement”), by and between
     the PLS Facility Depositor and PLS Facility Issuer.
19-10412-jlg   Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10          Main Document
                                     Pg 18 of 47



 37. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12,
     2018 (the “Depositor PLS Facility Assignment of Receivables”), by and between the PLS
     Facility Depositor and the PLS Facility Issuer.

 38. Administration Agreement, dated as of February 9, 2018 and effective as of February 12,
     2018 (the “PLS Facility Administration Agreement”), by and between the PLS Facility
     Issuer and the PLS Facility Administrator.

 39. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as
     of February 9, 2018 and effective as of February 12, 2018 (as amended, restated,
     supplemented or otherwise modified as of the date hereof, the “PLS Facility
     Acknowledgment Agreement”), by and among the PLS Facility Issuer, the PLS Facility
     Depositor, the PLS Facility Servicer, the PLS Facility Indenture Trustee, Fannie Mae and
     the PLS Facility Administrative Agent.

 40. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing
     Date, and effective as of the Effective Date (the “PLS Facility Note Purchase
     Agreement”), by and among Ditech, as the PLS Facility Servicer, the PLS Facility
     Administrator and the PLS Facility Receivables Seller, the PLS Facility Depositor, the
     PLS Facility Issuer, the Administrative Agent, and Barclays, as a Purchaser Agent (“PLS
     Facility Purchaser”).

 41. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class A-
     VF1 Note Number 1 (the “PLS Facility Note, Class A”), dated as of the Closing Date, in
     the name of the PLS Facility Purchaser.

 42. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class B-
     VF1 Note Number 1 (the “PLS Facility Note, Class B”), dated as of the Closing Date, in
     the name of the PLS Facility Purchaser.

 43. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class C-
     VF1 Note Number 1 (the “PLS Facility Note, Class C”), dated as of the Closing Date, in
     the name of the PLS Facility Purchaser.

 44. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class D-
     VF1 Note Number 1 (the “PLS Facility Note, Class D”), dated as of the Closing Date, in
     the name of the PLS Facility Purchaser.

 45. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
     February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the
     date hereof, the “PLS Facility Trust Agreement”), by and among the PLS Facility
     Depositor, Wilmington Trust, National Association, as the owner trustee (in such
     capacity, the “PLS Facility Owner Trustee”), and the PLS Facility Administrator.

 46. Amendment No.1 to the PLS Facility Trust Agreement, dated as of the Closing Date, by
     and among the Agency Facility Depositor, the Agency Facility Owner Trustee and the
     Agency Facility Administrator.
19-10412-jlg   Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                     Pg 19 of 47



 47. Amended and Restated Limited Liability Company Agreement of the PLS Facility
     Depositor (the “PLS Facility Depositor LLC Agreement”), dated as of February 9, 2018
     and effective as of February 12, 2018, by and among Ditech, as the sole economic
     member of the PLS Facility Depositor and Albert Fioravanti, as the Special Member and
     Independent Manager of the PLS Facility Depositor.

 48. Amendment No. 1 to the PLS Facility Depositor LLC Agreement, dated as of the Closing
     Date, made by Ditech, as the sole economic member of the PLS Facility Depositor and
     consented to by Albert Fioravanti, as the Special Member and Independent Manager of
     the PLS Facility Depositor and Barclays, as sole noteholder.

 49. Pledge Agreement, dated as of the Closing Date, made by the Ditech in favor of Barclays.

 50. Master Repurchase Agreement, dated as of the Closing Date, by and among Barclays, as
     Administrative Agent on behalf of Buyers (as defined therein), Barclays and Nomura, as
     Buyers (as defined therein), other Buyers party thereto from time to time, and Ditech.

 51. Pricing Side Letter, dated the Closing Date, among Barclays, as Administrative Agent for
     the benefit of Buyers (as defined therein), Barclays and Nomura, as Committed Buyers
     (as defined therein), and Ditech.

 52. Power of Attorney, dated as of the Closing Date, to be entered into by Ditech.

 53. Custodial and Disbursement Agreement, dated as of the Closing Date, by and among
     Barclays and Nomura, as Buyers (as defined therein), Ditech, Barclays, as agent of the
     Buyers, and Wells Fargo Bank, N.A.

 54. Amended and Restated Deposit Account Control Agreement, dated as of the Closing
     Date, by and among Barclays, as Administrative Agent (as defined therein), Ditech and
     U.S. Bank National Association.

 55. Second Amendment to the Master Securities Forward Transaction Agreement, dated as of
     the Closing Date, between Barclays Capital Inc. and Ditech.

 56. Second Amendment to the Master Securities Forward Transaction Agreement, dated as of
     the Closing Date, between Nomura Securities International, Inc. and Ditech.
     19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                            Pg 20 of 47

                                         ACTION BY
                                    WRITTEN CONSENT OF
                                  THE GOVERNING BODIES OF

                                DF INSURANCE AGENCY LLC
                                   DITECH FINANCIAL LLC
                                  GREEN TREE CREDIT LLC
                             GREEN TREE CREDIT SOLUTIONS LLC
                       GREEN TREE INSURANCE AGENCY OF NEVADA, INC.
                          GREEN TREE INVESTMENT HOLDINGS III LLC
                               GREEN TREE SERVICING CORP.
                                   MARIX SERVICING LLC
                              MORTGAGE ASSET SYSTEMS, LLC
                             REO MANAGEMENT SOLUTIONS, LLC
                            REVERSE MORTGAGE SOLUTIONS, INC.
                        WALTER MANAGEMENT HOLDING COMPANY LLC
                             WALTER REVERSE ACQUISITION LLC

                                          February 10, 2019


                The required members of the board of directors, the sole member, the managing member,
the sole manager or the sole general partner, as the case may be (as applicable, the “Governing Body”),
of each of the entities referenced above (each, a “Company” and collectively, the “Companies”), do
hereby consent to, adopt, and approve, by written consent in accordance with applicable law, the
following resolutions and every action effected thereby:

             WHEREAS, each Company is a direct or indirect wholly-owned subsidiary of Ditech
Holding Corporation (the “Parent”);

               WHEREAS, Reverse Mortgage Solutions, Inc. is the sole “member” (as such term is
used in the Delaware Limited Liability Company Act, 6 Del.C. § 18-101, et seq. (the “DLLC Act”)) (the
“Sole Member”) of RMS REO CS, LLC, RMS REO BRC, LLC, RMS REO BRC II, LLC and RMS
2018-09, LLC (each a “Single Member LLC” and, collectively, the “Single Member LLCs”);

               WHEREAS, the Board of Directors of the Parent and the Governing Body of the
Company previously approved the form, terms and provisions of, and the execution, delivery, and
performance of, and, on February 8, 2019, the Company entered into, the restructuring support
agreement (the “RSA”) with an ad hoc group of lenders (the “Term Loan Lenders”) holding more than
75% of the aggregate total principal amount of the Parent’s senior secured first lien term loan, borrowed
pursuant to the Second Amended and Restated Credit Agreement, dated as of February 9, 2018 (as
amended, supplemented or otherwise modified, the “Credit Agreement”) establishing the Term Loan
Lenders’ support for a prearranged chapter 11 plan of reorganization;

               WHEREAS, the Board of Directors of the Parent and, if applicable, the Governing Body
of the Company, previously approved, and on February 8, 2019, the Parent and the applicable
Companies entered into, the Commitment Letter (the “Commitment Letter”), by and among the Parent
as Guarantor, its wholly-owned direct subsidiaries Reverse Mortgage Solutions, Inc. (“RMS”) and
Ditech Financial LLC (“Ditech”) as Sellers, Barclays Bank PLC (“Barclays”) as Administrative Agent
     19-10412-jlg     Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10             Main Document
                                             Pg 21 of 47

and as Buyer and Nomura Corporate Funding Americas, LLC (“Nomura”) as Buyer (together with
Barclays in its capacity as Buyer, the “Buyers”), pursuant to which the Buyers committed to provide
new debtor-in-possession financing in an amount of up to $1.9 billion on terms and subject to conditions
set forth in the Commitment Letter and the term sheet attached thereto;

               WHEREAS, the Governing Body of the Company has reviewed and had the opportunity
to ask questions about the materials attached hereto and the impact of the foregoing on the Company’s
business; and

               WHEREAS, the Governing Body has considered and determined that taking the
applicable actions set forth below are in the best interests of the Company and, therefore, desires to
approve the following resolutions.

Commencement of Chapter 11 Cases

               RESOLVED, that it is desirable and in the best interests of the Company, its creditors,
and other parties in interest and the Governing Body approves and authorizes the filing of petitions by
the Company seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”); and be it further

               RESOLVED, that it is desirable and in the best interests of the Company, its creditors,
and other parties in interest that the Company and its advisors prepare, finalize and file, as appropriate,
the prearranged chapter 11 plan of reorganization (the “Plan”) and related disclosure statement (the
“Disclosure Statement”) consistent with the terms of the RSA;

                RESOLVED, that any officer of the Company (each, an “Authorized Officer”), in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to execute and
file in the name and on behalf of the Company all petitions, schedules, motions, lists, applications,
pleadings, and other papers in the Bankruptcy Court, and, in connection therewith, to employ and retain
all assistance by legal counsel, accountants, financial advisors, investment bankers and other
professionals, and to take and perform any and all further acts and deeds which such Authorized Officer
deems necessary, proper, or desirable in connection with the chapter 11 cases (the “Chapter 11 Cases”),
the Plan and the Disclosure Statement, including, without limitation, negotiating, executing, delivering
and performing any and all documents, agreements, certificates and/or instruments in connection with
the transactions and professional retentions set forth in this resolution, with a view to the successful
prosecution of the Chapter 11 Cases; and be it further

Retention of Advisors

                RESOLVED, that in connection with the Chapter 11 Cases, any Authorized Officer, in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full
power of delegation, in the name and on behalf of the Company, to employ and retain all assistance by
legal counsel, accountants, financial advisors, investment bankers and other professionals, on behalf of
the Company, which such Authorized Officer deems necessary, appropriate or advisable in connection
with, or in furtherance of, the Chapter 11 Cases, with a view to the successful prosecution of the Chapter


                                                     2
     19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                            Pg 22 of 47

11 Cases (such acts to be conclusive evidence that such Authorized Officer deemed the same to meet
such standard); and be it further

               RESOLVED, that the firm of Houlihan Lokey Capital, Inc., located at 10250
Constellation Blvd., 5th Floor, Los Angeles, California 90067, is hereby retained as investment banker
for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
Avenue, New York, NY 10153, is hereby retained as counsel for the Company in the Chapter 11 Cases,
subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of AlixPartners, located at 909 Third Avenue, New York,
New York 10022, is hereby retained as financial advisor for the Company in the Chapter 11 Cases,
subject to Bankruptcy Court approval, and that the Company’s prior engagement of AlixPartners is
hereby ratified in all respects; and be it further

               RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777 Third
Avenue, 12th Floor, New York, New York 10017, is hereby retained as claims, noticing, and solicitation
agent and administrative advisor for the Company in the Chapter 11 Cases, subject to Bankruptcy Court
approval; and be it further

Specified Consent with Respect to Sole Member

               RESOLVED, that the written consent of the Sole Member provided herein to file a
petition seeking relief under the Bankruptcy Code shall, to the maximum extent permitted by law,
constitute a “written consent” for purposes of §18-304 of the DLLC Act; and be it further

                RESOLVED, that it is desirable and in the best interests of the Sole Member, its
creditors, and other parties in interest that the Sole Member shall not cease to be a “member” (as such
term is used in the DLLC Act) of any Single Member LLC as a result of the Chapter 11 Cases or upon
the happening of any other event specified in §18-304 of the DLLC Act; and be it further

General

                RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to cause the Company to enter into, execute,
deliver, certify, file and/or record, perform, and approve any necessary public disclosures and filings
related to, and such other documents, agreements, instruments and certificates as may be required by the
Chapter 11 Cases or retention of advisors and to take such other actions that in the judgment of the
Authorized Officer shall be or become necessary, proper or desirable in connection therewith; and be it
further

               RESOLVED, that any actions taken by any Authorized Officer, for or on behalf of the
Company, prior to the date hereof that would have been authorized by these resolutions but for the fact
that such actions were taken prior to the date hereof be, and they hereby are, authorized, adopted,
approved, confirmed and ratified in all respects as the actions and deeds of the Company.

                                       [Signature Pages Follow]



                                                    3
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                           Pg 23 of 47



              IN WITNESS WHEREOF, the undersigned, being the managing member of the entities
listed under “Group 1” on Schedule I has executed this written consent as of the date first set forth
above.




                                                  DITECH HOLDING CORPORATION


                                                  _/s/ Kimberly Perez_________________________
                                                  Name: Kimberly Perez
                                                  Title: SVP & Chief Accounting Officer
    19-10412-jlg    Doc 1   Filed 02/11/19 Entered 02/11/19 04:07:10       Main Document
                                         Pg 24 of 47



               IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of the entity listed under “Group 2” on Schedule I have executed this unanimous written
consent as of the date first set forth above.




                                         /s/ Jeffrey Baker
                                         Jeffrey Baker

                                         /s/ Alan Clark
                                         Alan Clark
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                           Pg 25 of 47

                IN WITNESS WHEREOF, the undersigned, being the sole member of the board of
directors of the entity listed under “Group 3” on Schedule I has executed this unanimous written consent
as of the date first set forth above.



                                            /s/ Laura Reichel
                                            Laura Reichel
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                           Pg 26 of 47

               IN WITNESS WHEREOF, the undersigned, being the sole member or managing
member, as applicable, of the entities listed under “Group 4” on Schedule I, has executed this written
consent as of the date first set forth above.




                                                          GREEN TREE CREDIT SOLUTIONS
                                                          LLC,


                                                          _/s/ Kimberly Perez_______________
                                                          Name: Kimberly Perez
                                                          Title: SVP & Chief Accounting Officer
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                           Pg 27 of 47

              IN WITNESS WHEREOF, the undersigned, being the managing member of each entity
listed under “Group 5” on Schedule I, has executed this written consent as of the date first set forth
above.




                                                          REVERSE MORTGAGE SOLUTIONS,
                                                          INC.


                                                          /s/ Jeanetta Brown ___________________
                                                          Name: Jeanetta Brown
                                                          Title: Vice President
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                           Pg 28 of 47

              IN WITNESS WHEREOF, the undersigned, being the managing member of the entity
listed under “Group 6” on Schedule I, has executed this written consent as of the date first set forth
above.




                                                  WALTER MANAGEMENT HOLDING
                                                  COMPANY LLC


                                                  _/s/ Kimberly Perez_________________________
                                                  Name: Kimberly Perez
                                                  Title: SVP & Chief Accounting Officer
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                           Pg 29 of 47

              IN WITNESS WHEREOF, the undersigned, being the managing member of the entity
listed under “Group 7” on Schedule I, has executed this written consent as of the date first set forth
above.




                                                  GREEN TREE SERVICING CORP.


                                                  _/s/ Kimberly Perez_________________________
                                                  Name: Kimberly Perez
                                                  Title: SVP & Chief Accounting Officer
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                           Pg 30 of 47



       Schedule I

Group 1
Walter Reverse Acquisition LLC, a Delaware limited liability company
Green Tree Credit Solutions LLC, a Delaware limited liability company
Marix Servicing LLC, a Delaware limited liability company


Group 2
Reverse Mortgage Solutions, Inc., a Delaware corporation


Group 3
Green Tree Insurance Agency of Nevada, Inc., a Nevada corporation
Green Tree Servicing Corp., a Delaware corporation


Group 4
Walter Management Holding Company LLC, a Delaware limited liability company
DF Insurance Agency LLC, a Delaware limited liability company
Green Tree Investment Holdings III LLC, a Delaware limited liability company


Group 5
Mortgage Asset Systems, LLC, a Delaware limited liability company
REO Management Solutions, LLC, a Delaware limited liability company


Group 6
Green Tree Credit LLC, a New York limited liability company


Group 7
Ditech Financial LLC, a Delaware limited liability company
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                           Pg 31 of 47

                                         ACTION BY
                                    WRITTEN CONSENT OF
                                  THE GOVERNING BODIES OF

                                   DITECH FINANCIAL LLC
                             REVERSE MORTGAGE SOLUTIONS, INC.
                                        RMS REO CS, LLC
                                       RMS REO BRC, LLC
                                      RMS REO BRC II, LLC

                                         February 10, 2019



                The required members of the board of directors, the sole member, the managing member,
the sole manager or the sole general partner, as the case may be (as applicable, the “Governing Body”),
of each of the entities referenced above (each, a “Company” and collectively, the “Companies”), do
hereby consent to, adopt, and approve, by written consent in accordance with applicable law, the
following resolutions and every action effected thereby:

             WHEREAS, the Company is a direct or indirect wholly-owned subsidiary of Ditech
Holding Corporation (the “Parent”);

                 WHEREAS, the Board of Directors of the Parent and the Governing Body of each of
Reverse Mortgage Solutions, Inc. (“RMS”) and Ditech Financial LLC (“Ditech”) previously approved
the form, terms and provisions of, and the execution, delivery, and performance of, and, on February 8,
2019, the Parent and certain of its subsidiaries, including RMS and Ditech, entered into, the
restructuring support agreement (the “RSA”) with an ad hoc group of lenders (the “Term Loan
Lenders”) holding more than 75% of the aggregate total principal amount of the Parent’s senior secured
first lien term loan, borrowed pursuant to the Second Amended and Restated Credit Agreement, dated as
of February 9, 2018 (as amended, supplemented or otherwise modified, the “Credit Agreement”)
establishing the Term Loan Lenders’ support for a prearranged chapter 11 plan of reorganization;

               WHEREAS, the Board of Directors of the Parent and the Governing Body of each of
RMS and Ditech previously approved, and on February 8, 2019, the Parent, RMS and Ditech entered
into, the Commitment Letter (the “Commitment Letter”), by and among the Parent as Guarantor, its
wholly-owned direct subsidiaries Reverse Mortgage Solutions, Inc. (“RMS”) and Ditech Financial LLC
(“Ditech”) as Sellers, Barclays Bank PLC (“Barclays”) as Administrative Agent and as Buyer and
Nomura Corporate Funding Americas, LLC (“Nomura”) as Buyer (together with Barclays in its capacity
as Buyer, the “Buyers”), pursuant to which the Buyers committed to provide new debtor-in-possession
financing in an amount of up to $1.9 billion on terms and subject to conditions set forth in the
Commitment Letter and the term sheet attached thereto;

               WHEREAS, the Governing Body of the Company has reviewed and had the opportunity
to ask questions about the materials attached hereto and the impact of the foregoing on the Company’s
business; and
     19-10412-jlg     Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                             Pg 32 of 47

               WHEREAS, the Governing Body has considered and determined that taking the
applicable actions set forth below are in the best interests of the Company and, therefore, desires to
approve the following resolutions.

Debtor-in-Possession Financing

                RESOLVED, that as previously authorized and agreed to by Ditech and RMS in
connection with the Commitment Letter, it is in the best interest of Ditech, RMS, RMS REO CS, LLC
(“RMS REO CS”), RMS REO BRC, LLC (“RMS REO BRC”) and RMS REO BRC II, LLC (“RMS
REO BRC II”) to engage in, and the Parent, Ditech, RMS, RMS REO CS, RMS REO BRC and RMS
REO BRC II will obtain benefits from, the financing transactions contemplated by the agreements listed
on Schedule A hereto and any and all of the other agreements, including, without limitation, any other
guarantees, certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified
and/or filed in connection with the Debtor-in-Possession Financing (as defined below) (together with the
transaction documents listed on Schedule A, collectively, the “DIP Financing Documents”), which,
subject to the approval of the United States Bankruptcy Court for the Southern District of New York
(the “Bankruptcy Court”) in connection with the chapter 11 cases of the Parent, RMS, Ditech and certain
other subsidiaries of the Parent, will provide the Parent, Ditech, RMS and RMS REO BRC II up to $1.9
billion in available warehouse financing, which is necessary and appropriate for the conduct, promotion
and attainment of the business of the Parent and its subsidiaries, including Ditech, RMS and RMS REO
BRC II (the “Debtor-in-Possession Financing”) (capitalized terms used in this section with respect to
Debtor-in-Possession Financing and not otherwise defined herein shall have the meanings ascribed to
such terms in the Commitment Letter or the term sheet attached thereto); and be it further

                RESOLVED, that the Company’s performance of its obligations under the DIP
Financing Documents, including the borrowings and guarantees contemplated thereunder, are hereby, in
all respects confirmed, ratified and approved; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered and
directed, in the name and on behalf of the Company, to cause the Company to negotiate and approve the
terms, provisions of and performance of, and to prepare, execute and deliver the DIP Financing
Documents, on substantially the same terms and conditions presented to the Company, in the name and
on behalf of the Company under its corporate seal or otherwise, and such other documents, agreements,
instruments and certificates as may be required by the Administrative Agent or required by the DIP
Financing Documents; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, as part of the adequate
protection to be provided to the lenders and administrative agent under the Credit Agreement, to grant
replacement security interests in, and replacement liens on, any and all property of the Company as
collateral pursuant to the Bankruptcy Court’s orders to secure all of the obligations and liabilities of the
Company thereunder, and to authorize, execute, verify, file and/or deliver to the administrative agent, on
behalf of the Company, all agreements, documents and instruments required by the lenders or the
administrative agent under the Credit Agreement in connection with the foregoing; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to take all such further actions including, without
limitation, to pay all fees and expenses, in accordance with the terms of the DIP Financing Documents,

                                                     2
     19-10412-jlg    Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                            Pg 33 of 47

which shall, in such Authorized Officer’s judgment, be necessary, proper or advisable to perform the
Company’s obligations under or in connection with the DIP Financing Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

                RESOLVED, that any Authorized Officer is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions of any
of the DIP Financing Documents which shall, in such Authorized Officer’s sole judgment, be necessary,
proper or advisable; and be it further

General

                RESOLVED, that any Authorized Officer is hereby authorized, empowered and
directed, in the name and on behalf of the Company, to cause the Company to enter into, execute,
deliver, certify, file and/or record, perform and approve any necessary public disclosures and filings
related to, such documents, agreements, instruments, motions, affidavits, applications for approvals or
rulings of governmental or regulatory authorities and certificates as may be required in connection
with the DIP Financing Documents and Debtor-in-Possession Financing, and to take such other actions
that in the judgment of the Authorized Officer shall be or become necessary, proper or desirable in
connection therewith; and be it further

               RESOLVED, that any actions taken by any Authorized Officer, for or on behalf of the
Company, prior to the date hereof that would have been authorized by these resolutions but for the fact
that such actions were taken prior to the date hereof be, and they hereby are, authorized, adopted,
approved, confirmed and ratified in all respects as the actions and deeds of the Company.


                                       [Signature Pages Follow]




                                                   3
    19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10        Main Document
                                          Pg 34 of 47

               IN WITNESS WHEREOF, the undersigned, being all of the members of the board of
directors of Reverse Mortgage Solutions, Inc., a Delaware corporation, have executed this unanimous
written consent as of the date first set forth above.




                                          /s/ Jeffrey Baker
                                          Jeffrey Baker

                                          /s/ Alan Clark
                                          Alan Clark
    19-10412-jlg   Doc 1   Filed 02/11/19 Entered 02/11/19 04:07:10      Main Document
                                        Pg 35 of 47

              IN WITNESS WHEREOF, the undersigned, being the sole member of each entity listed
below, has executed this written consent as of the date first set forth above.


                                                     RMS REO CS, LLC
                                                     RMS REO BRC, LLC
                                                     RMS REO BRC II, LLC



                                                     REVERSE MORTGAGE SOLUTIONS,
                                                     INC.
                                                     as Member

                                                     /s/ Jeanetta Brown_________________
                                                     Name: Jeanetta Brown
                                                     Title: Vice President
     19-10412-jlg    Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                           Pg 36 of 47

                 IN WITNESS WHEREOF, the undersigned, being the managing member of Ditech
Financial LLC, a Delaware limited liability company, has executed this written consent as of the date
first set forth above.




                                                  GREEN TREE SERVICING CORP.


                                                  _/s/ Kimberly Perez____________________
                                                  Name: Kimberly Perez
                                                  Title: SVP & Chief Accounting Officer
 19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                        Pg 37 of 47

                                          Schedule A
1. Master Refinancing Agreement, dated as of the Closing Date, by and among Barclays, as
   administrative agent for the Buyers (as defined therein) and other Secured Parties (as defined
   therein), Barclays and Nomura, each as a Buyer (as defined therein), Barclays Capital Inc. and
   Nomura Securities International, Inc., each as an MSFTA Counterparty (as defined therein),
   Ditech and Reverse Mortgage Solutions, Inc., each as a Seller (as defined therein) and RMS
   REO BRC II, LLC, as REO Subsidiary (as defined therein) (the “Omnibus Agreement”).

2. Master DIP Fee Letter, dated as of the Closing Date, among Barclays, as administrative agent,
   Barclays and Nomura, as Committed Buyers (as defined therein), Ditech, RMS and Ditech
   Holding Corporation.

3. Master DIP Guaranty, dated as of the Closing Date, made by Guarantor in favor of Barclays, as
   Administrative Agent, for the benefit of Buyers and the other Buyer Parties (as defined therein).

4. Margin, Setoff and Netting Agreement, dated as of the Closing Date, among Barclays, as
   Administrative Agent, Barclays Capital, Inc., Nomura Securities International, Inc., Nomura,
   Ditech, RMS, and RMS REO BRC II, LLC and acknowledged and agreed to by Ditech Holding
   Corporation.

5. Master Administration Agreement, dated as of the Closing Date, among Barclays, as
   Administrative Agent for the Buyers and other Secured Parties (as defined therein), Barclays and
   Nomura, each as a Buyer (as defined therein), Barclays Capital Inc. and Nomura Securities
   International, Inc., each as a MSFTA Counterparty (as defined therein), Ditech and RMS, each
   as a Seller (as defined therein), and RMS REO BRC II, LLC as REO Subsidiary (as defined
   therein).

6. Amended and Restated Master Repurchase Agreement, dated as of the Closing Date, by and
   among Barclays and Nomura, as Purchasers (as defined therein), Barclays, as Agent (as defined
   therein), RMS and RMS REO BRC II, LLC.

7. Amended and Restated Pricing Side Letter, dated as of the Closing Date, among Barclays, as
   Purchaser and Agent, Nomura, as Purchaser, RMS and RMS REO BRC II, LLC.

8. Assignment Agreement, dated as of the Closing Date, between RMS REO CS, LLC and RMS.

9. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC, LLC and RMS.

10. Assignment Agreement, dated as of the Closing Date, between RMS REO BRC II, LLC and
    RMS.

11. Amended and Restated Custodial Agreement, dated as of the Closing Date, by and among RMS
    REO BRC II, LLC (the “REO Subsidiary”), RMS, Deutsche Bank National Trust Company, as
    custodian for Purchasers (as defined therein) and for the REO Subsidiary, Barclays and Nomura,
    as Purchasers (as defined therein), and Barclays, as Agent (as defined therein).

12. Amended and Restated Deposit Account Control Agreement, dated as of the Closing Date, by
    and among RMS, Barclays, as Agent (as defined therein), and Wells Fargo Bank, National
    Association.
 19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                        Pg 38 of 47

13. Amendment No. 1 to the Limited Liability Company Agreement of RMS REO BRC II, LLC,
    dated as of the Closing Date, entered into by RMS, as the sole member, RMS REO BRC II,
    LLC, and consented to by Barclays, as Agent.

14. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as amended,
    restated, supplemented or otherwise modified as of the date hereof, the “Agency Facility
    Indenture”), by and among Ditech Agency Advance Trust, as issuer (the “Agency Facility
    Issuer”), Wells Fargo Bank, N.A. (“Wells Fargo”), as indenture trustee (in such capacity, the
    “Agency Facility Indenture Trustee”), calculation agent, paying agent and securities
    intermediary, Ditech, as administrator (in such capacity, the “Agency Facility Administrator”)
    and as servicer (in such capacity, the “Agency Facility Servicer”) and Barclays, as administrative
    agent (in such capacity, the “Agency Facility Administrative Agent”) (successor to Credit Suisse
    First Boston Mortgage Capital LLC, as initial administrative agent).

15. Series 2019-VF1 Indenture Supplement to Agency Facility Indenture, dated as of the Closing
    Date, by and among the Agency Facility Issuer, the Agency Facility Indenture Trustee (as
    indenture trustee, calculation agent, paying agent and securities intermediary), the Agency
    Facility Administrator, the Agency Facility Servicer and the Agency Facility Administrative
    Agent.

16. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February 12, 2018
    (as amended, restated, supplemented or otherwise modified as of the date hereof, the “Agency
    Facility Receivables Sale Agreement”), by and among the Agency Facility Servicer, as servicer
    and as the receivables seller (in such capacity, the “Agency Facility Receivables Seller”), Ditech
    Agency Advance Depositor LLC, as depositor (the “Agency Facility Depositor”) and the
    Company, as guarantor.

17. Amendment No.1 to the Agency Facility Receivables Sale Agreement, dated as of the Closing
    Date, by and among the Agency Facility Servicer, the Agency Facility Receivables Seller, the
    Agency Facility Depositor and the Company, as guarantor.

18. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018,
    by and between the Agency Facility Depositor and the Agency Facility Receivables Seller.

19. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of February 12,
    2018, by and between the Agency Facility Depositor and the Agency Facility Issuer.

20. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018,
    by and between the Agency Facility Depositor and the Agency Facility Issuer.

21. Administration Agreement, dated as of February 9, 2018 and effective as of February 12, 2018,
    by and between the Agency Facility Issuer and the Agency Facility Administrator.

22. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as of
    February 9, 2018 and effective as of February 12, 2018 (as amended, restated, supplemented or
    otherwise modified as of the date hereof, the “Agency Facility Acknowledgment Agreement”),
    by and among the Agency Facility Issuer, the Agency Facility Depositor, the Agency Facility
    Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the Agency Facility
    Administrative Agent.
 19-10412-jlg    Doc 1     Filed 02/11/19 Entered 02/11/19 04:07:10          Main Document
                                        Pg 39 of 47

23. Amendment No. 1 to the Agency Facility Acknowledgment Agreement, dated as of April 20,
    2018, by and among the Agency Facility Issuer, the Agency Facility Depositor, the Agency
    Facility Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the Agency Facility
    Administrative Agent.

24. Amendment No. 2 to the Agency Facility Acknowledgment Agreement, dated as of the Closing
    Date, by and among the Agency Facility Issuer, the Agency Facility Depositor, the Agency
    Facility Servicer, the Agency Facility Indenture Trustee, Fannie Mae and the Agency Facility
    Administrative Agent.

25. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing Date, (the
    “Agency Facility Note Purchase Agreement”), by and among Ditech, as the Agency Facility
    Servicer, the Agency Facility Administrator and the Agency Facility Receivables Seller, the
    Agency Facility Depositor, the Agency Facility Issuer, the Administrative Agent, and Barclays,
    as a Purchaser Agent (“Agency Facility Purchaser”).

26. Ditech Agency Advance Trust Advance Receivables Backed Note, Series 2019-VF1 Note,
    Number 1 (the “Agency Facility Note”), dated as of the Closing Date, in the name of the Agency
    Facility Purchaser.

27. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
    February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
    hereof, the “Agency Facility Trust Agreement”), by and among the Agency Facility Depositor,
    Wilmington Trust, National Association, as the owner trustee (in such capacity, the “Agency
    Facility Owner Trustee”), and the Agency Facility Administrator.

28. Amendment No.1 to the Agency Facility Trust Agreement, dated as of the Closing Date, by and
    among the Agency Facility Depositor, Wilmington Trust, National Association, the Agency
    Facility Owner Trustee and the Agency Facility Administrator.

29. Amended and Restated Limited Liability Company Agreement of the Agency Facility Depositor
    (the “Agency Facility Depositor LLC Agreement”), dated as of February 9, 2018 and effective as
    of February 12, 2018, by and among Ditech, as the sole economic member of the Agency
    Facility Depositor and Albert Fioravanti, as the Special Member and Independent Manager of the
    Agency Facility Depositor.

30. Amendment No. 1 to the Agency Facility Depositor LLC Agreement, dated as of the Closing
    Date, made by Ditech, as the sole economic member of the Agency Facility Depositor and
    consented to by Albert Fioravanti, as the Special Member and Independent Manager of the
    Agency Facility Depositor and Barclays, as sole noteholder.

31. Indenture, dated as of February 9, 2018 and effective as of February 12, 2018 (as amended,
    restated, supplemented or otherwise modified as of the date hereof, the “PLS Facility
    Indenture”), by and among Ditech PLS Advance Trust II, as issuer (the “PLS Facility Issuer”),
    Wells Fargo Bank, as indenture trustee (in such capacity, the “PLS Facility Indenture Trustee”),
    calculation agent, paying agent and securities intermediary, Ditech, as administrator (in such
    capacity, the “PLS Facility Administrator”) and as servicer (in such capacity, the “PLS Facility
    Servicer”) and Barclays, as administrative agent (in such capacity, the “PLS Facility
    Administrative Agent”) (successor to Credit Suisse First Boston Mortgage Capital LLC, as initial
    administrative agent).
 19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10            Main Document
                                        Pg 40 of 47

32. Series 2019-VF1 Indenture Supplement to PLS Facility Indenture, dated as of the Closing Date
    (the “PLS Facility Indenture Supplement”), by and among the PLS Facility Issuer, the PLS
    Facility Indenture Trustee (as indenture trustee, calculation agent, paying agent and securities
    intermediary), the PLS Facility Administrator, the PLS Facility Servicer and the PLS Facility
    Administrative Agent.

33. Receivables Sale Agreement, dated as of February 9, 2018 and effective as of February 12, 2018
    (as amended, restated, supplemented or otherwise modified as of the date hereof, the “PLS
    Facility Receivables Sale Agreement”), by and among the PLS Facility Servicer, as servicer and
    as the receivables seller (in such capacity, the “PLS Facility Receivables Seller”), Ditech PLS
    Advance Depositor LLC, as depositor (the “PLS Facility Depositor”) and the Company, as
    guarantor.

34. Amendment No.1 to the PLS Facility Receivables Sale Agreement, dated as of the Closing Date,
    by and among the PLS Facility Servicer, the PLS Facility Receivables Seller, the PLS Facility
    Depositor and the Company, as guarantor (“PLS Facility Receivables Sale Agreement
    Amendment”).

35. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018
    (the “PLS Facility Assignment of Receivables”), by and between the PLS Facility Depositor and
    the PLS Facility Receivables Seller.

36. Receivables Pooling Agreement, dated as of February 9, 2018 and effective as of February 12,
    2018 (the “PLS Facility Receivables Pooling Agreement”), by and between the PLS Facility
    Depositor and PLS Facility Issuer.

37. Assignment of Receivables, dated as of February 9, 2018 and effective as of February 12, 2018
    (the “Depositor PLS Facility Assignment of Receivables”), by and between the PLS Facility
    Depositor and the PLS Facility Issuer.

38. Administration Agreement, dated as of February 9, 2018 and effective as of February 12, 2018
    (the “PLS Facility Administration Agreement”), by and between the PLS Facility Issuer and the
    PLS Facility Administrator.

39. Acknowledgment Agreement with Respect to Servicing Advance Receivables, dated as of
    February 9, 2018 and effective as of February 12, 2018 (as amended, restated, supplemented or
    otherwise modified as of the date hereof, the “PLS Facility Acknowledgment Agreement”), by
    and among the PLS Facility Issuer, the PLS Facility Depositor, the PLS Facility Servicer, the
    PLS Facility Indenture Trustee, Fannie Mae and the PLS Facility Administrative Agent.

40. Series 2019-VF1 Variable Funding Note Purchase Agreement, dated as of the Closing Date, and
    effective as of the Effective Date (the “PLS Facility Note Purchase Agreement”), by and among
    Ditech, as the PLS Facility Servicer, the PLS Facility Administrator and the PLS Facility
    Receivables Seller, the PLS Facility Depositor, the PLS Facility Issuer, the Administrative
    Agent, and Barclays, as a Purchaser Agent (“PLS Facility Purchaser”).

41. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class A-VF1 Note
    Number 1 (the “PLS Facility Note, Class A”), dated as of the Closing Date, in the name of the
    PLS Facility Purchaser.
 19-10412-jlg     Doc 1    Filed 02/11/19 Entered 02/11/19 04:07:10           Main Document
                                        Pg 41 of 47

42. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class B-VF1 Note
    Number 1 (the “PLS Facility Note, Class B”), dated as of the Closing Date, in the name of the
    PLS Facility Purchaser.

43. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class C-VF1 Note
    Number 1 (the “PLS Facility Note, Class C”), dated as of the Closing Date, in the name of the
    PLS Facility Purchaser.

44. Ditech PLS Advance Trust II Advance Receivables Backed Note, Series 2019 Class D-VF1 Note
    Number 1 (the “PLS Facility Note, Class D”), dated as of the Closing Date, in the name of the
    PLS Facility Purchaser.

45. Amended and Restated Trust Agreement, dated as of February 9, 2018 and effective as of
    February 12, 2018 (as amended, restated, supplemented or otherwise modified as of the date
    hereof, the “PLS Facility Trust Agreement”), by and among the PLS Facility Depositor,
    Wilmington Trust, National Association, as the owner trustee (in such capacity, the “PLS
    Facility Owner Trustee”), and the PLS Facility Administrator.

46. Amendment No.1 to the PLS Facility Trust Agreement, dated as of the Closing Date, by and
    among the Agency Facility Depositor, the Agency Facility Owner Trustee and the Agency
    Facility Administrator.

47. Amended and Restated Limited Liability Company Agreement of the PLS Facility Depositor
    (the “PLS Facility Depositor LLC Agreement”), dated as of February 9, 2018 and effective as of
    February 12, 2018, by and among Ditech, as the sole economic member of the PLS Facility
    Depositor and Albert Fioravanti, as the Special Member and Independent Manager of the PLS
    Facility Depositor.

48. Amendment No. 1 to the PLS Facility Depositor LLC Agreement, dated as of the Closing Date,
    made by Ditech, as the sole economic member of the PLS Facility Depositor and consented to by
    Albert Fioravanti, as the Special Member and Independent Manager of the PLS Facility
    Depositor and Barclays, as sole noteholder.

49. Pledge Agreement, dated as of the Closing Date, made by the Ditech in favor of Barclays.

50. Master Repurchase Agreement, dated as of the Closing Date, by and among Barclays, as
    Administrative Agent on behalf of Buyers (as defined therein), Barclays and Nomura, as Buyers
    (as defined therein), other Buyers party thereto from time to time, and Ditech.

51. Pricing Side Letter, dated the Closing Date, among Barclays, as Administrative Agent for the
    benefit of Buyers (as defined therein), Barclays and Nomura, as Committed Buyers (as defined
    therein), and Ditech.

52. Power of Attorney, dated as of the Closing Date, to be entered into by Ditech.

53. Custodial and Disbursement Agreement, dated as of the Closing Date, by and among Barclays
    and Nomura, as Buyers (as defined therein), Ditech, Barclays, as agent of the Buyers, and Wells
    Fargo Bank, N.A.
 19-10412-jlg    Doc 1   Filed 02/11/19 Entered 02/11/19 04:07:10         Main Document
                                      Pg 42 of 47

54. Amended and Restated Deposit Account Control Agreement, dated as of the Closing Date, by
    and among Barclays, as Administrative Agent (as defined therein), Ditech and U.S. Bank
    National Association.

55. Second Amendment to the Master Securities Forward Transaction Agreement, dated as of the
    Closing Date, between Barclays Capital Inc. and Ditech.

56. Second Amendment to the Master Securities Forward Transaction Agreement, dated as of the
    Closing Date, between Nomura Securities International, Inc. and Ditech.
             19-10412-jlg               Doc 1      Filed 02/11/19 Entered 02/11/19 04:07:10                                 Main Document
                                                                Pg 43 of 47



Fill in this information to identify the case:

Debtor name:        Ditech Holding Corporation
United States Bankruptcy Court for the Southern District of New York
                                                                      (State)
Case number (If known):

                                                                                                                                           ☐ Check if this is an
                                                                                                                                           amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
Who Have the 40 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                              12/15

A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40
largest unsecured claims.
Name of creditor and complete mailing          Name, telephone number, and email           Nature of the      Indicate if   Amount of unsecured claim
address, including zip code                    address of creditor contact                      claim          claim is     If the claim is fully unsecured, fill in only
                                                                                           (for example,     contingent,    unsecured claim amount. If claim is partially
                                                                                            trade debts,    unliquidated,   secured, fill in total claim amount and
                                                                                            bank loans,      or disputed    deduction for value of collateral or setoff to
                                                                                            professional                    calculate unsecured claim.
                                                                                           services, and
                                                                                            government
                                                                                             contracts)
                                                                                                                              Total        Deduction          Unsecured
                                                                                                                            claim, if     for value of          claim
                                                                                                                            partially     collateral or
                                                                                                                            secured          setoff
1     ISGN Solutions Inc.                      Attn.: E. Rock Primas
      Attn.: E. Rock Primas                    Phone: (609) 932‐4712                         Trade Debt                                                     $1,531,484.00
      2330 Commerce Park Drive, NE, Suite 2    Email: rock.primas@isgnsolutions.com
      Palm Bay, Florida 32905
2     Black Knight Tech Solutions              Attn.: Darlene Ledet
      Attn.: Darlene Ledet                     Phone: (904) 854‐3153
                                                                                             Trade Debt                                                     $1,458,204.00
      601 Riverside Avenue                     Email: darlene.ledet@bkfs.com
      Jacksonville, FL 32204
3     Servicelink                              Attn.: Joe Greve
      Attn.: Joe Greve                         Phone: (216) 374‐1888
                                                                                             Trade Debt                                                     $1,222,945.00
      9600 Reserve Run                         Email: joe.greve@svclnk.com
      Brecksville, Ohio 15108
4     Corelogic Tax Services LLC               Attn.: Tom Blauvelt
      Attn.: Tom Blauvelt                      Phone: (512) 977‐3716
                                                                                             Trade Debt                                                     $1,155,282.00
      4 First American Way                     Email: tblauvelt@corelogic.com
      Santa Ana, California 92707
5     Safeguard Properties Mgmt. LLC           Attn.: Gregory Sharp
      Attn.: Gregory Sharp                     Phone: (216) 739‐2900
                                                                                             Trade Debt                                                     $1,150,138.00
      7887 Safeguard Cir.                      Email:
      Valley View, Ohio 44125                  gregory.sharp@safeguardproperties.com
6     Tata Consultancy Services Ltd.           Attn.: Prashant Panghal
      Attn.: Prashant Panghal                  Phone: (732) 986‐6921
                                                                                             Trade Debt                                                     $1,135,384.00
      379 Thornall Street                      Email: prashant1.p@tcs.com
      Edison, New Jersey 08837
7     Cognizant Technology Solutions           Attn.: Janine Lj Durham
      Attn.: Janine Lj Durham                  Phone: (602) 315‐0481                         Trade Debt                                                     $1,023,481.00
      2512 Dunlap Avenue                       Email: janine.durham@cognizant.com
      Phoenix, Arizona 32905
8     Corelogic Information Solutions          Attn.: Tom Blauvelt
      Attn.: Tom Blauvelt                      Phone: (512) 977‐3716
                                                                                             Trade Debt                                                      $800,585.00
      4 First American Way                     Email: tblauvelt@corelogic.com
      Santa Ana, California 92707



Official Form 204                             List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                 Page 1
             19-10412-jlg               Doc 1      Filed 02/11/19 Entered 02/11/19 04:07:10                                 Main Document
                                                                Pg 44 of 47


Name of creditor and complete mailing          Name, telephone number, and email           Nature of the      Indicate if   Amount of unsecured claim
address, including zip code                    address of creditor contact                      claim          claim is     If the claim is fully unsecured, fill in only
                                                                                           (for example,     contingent,    unsecured claim amount. If claim is partially
                                                                                            trade debts,    unliquidated,   secured, fill in total claim amount and
                                                                                            bank loans,      or disputed    deduction for value of collateral or setoff to
                                                                                            professional                    calculate unsecured claim.
                                                                                           services, and
                                                                                            government
                                                                                             contracts)
                                                                                                                              Total        Deduction          Unsecured
                                                                                                                            claim, if     for value of          claim
                                                                                                                            partially     collateral or
                                                                                                                            secured          setoff
9     Black Knight Financial Services          Attn.: Darlene Ledet
      Attn.: Darlene Ledet                     Phone: (904) 854‐3153
                                                                                             Trade Debt                                                      $586,915.00
      601 Riverside Avenue                     Email: darlene.ledet@bkfs.com
      Jacksonville, Florida 32204
10    Verizon Business                         Attn.: Lona Gruebele
      Attn.: Lona Gruebele                     Phone: (612) 805‐1034
                                                                                             Trade Debt                                                      $555,663.00
      22001 Loudoun County Pkwy                Email: lona.j.gruebele@verizon.com
      Ashburn, Virgina 20147
11    Nationwide Title Clearing Inc.           Attn.: Debbie Lastoria
      Attn.: Debbie Lastoria                   Phone: (727) 771‐4000
                                                                                             Trade Debt                                                      $554,418.00
      2100 Alt 19 North                        Email: debbie_lastoria@nwtc.com
      Palm Harbor, Florida 34683
12    NCP Solutions LLC                        Attn.: Tom Hart
      Attn.: Tom Hart                          Phone: (205) 421‐7254
                                                                                             Trade Debt                                                      $492,500.00
      5200 East Lake Boulevard                 Email: thart@ncpsolutions.com
      Birmingham, Alabama 35217
13    Pegasystems Inc.                         Attn.: Kirk Faustman
      Attn.: Kirk Faustman                     Phone: (617) 777‐3229
                                                                                             Trade Debt                                                      $480,180.00
      One Rogers Street                        Email: kirk.faustman@pega.com
      Cambridge, Massachusetts 02142
14    Padgett Law Group                        Attn.: Timothy D. Padgett
      Attn.: Timothy D. Padgett                Phone: (850) 422‐2520                        Professional
                                                                                                                                                             $471,337.00
      6267 Old Water Oak Road, Suite 203       Email: accounting@padgettlaw.net               Services
      Tallahassee, Florida 32312
15    McCalla Raymer Leibert Pierce LLC        Attn.: Michael Allgood
      Attn.: Michael Allgood                   Phone: (770) 643‐7202
                                                                                             Trade Debt                                                      $462,992.00
      1544 Old Alabama Road                    Email: michael.allgood@mccalla.com
      Roswell, Georgia 30076
16    RAS Crane LLC                            Attn.: John Crane
      Attn.: John Crane                        Phone: (972) 757‐1486                        Professional
                                                                                                                                                             $446,268.00
      10700 Abbott's Bridge Road; Suite 170    Email: jcrane@rascrane.com                     Services
      Duluth, Georgia 30097
17    Locke Lord LLP                           Attn.: Lori Barton
      Attn.: Lori Barton                       Phone: (214) 740‐8000                        Professional
                                                                                                                                                             $443,666.00
      2200 Ross Avenue, Suite 2800             Email: lori.barton@lockelord.com               Services
      Dallas, Texas 75201
18    Ellie Mae Inc.                           Attn.: John Coppa
      Attn.: John Coppa                        Phone: (925) 227‐2060
                                                                                             Trade Debt                                                      $347,728.00
      4420 Rosewood Drive, Suite 500           Email: john.coppa@elliemae.com
      Pleasanton, CA 94588
19    Quattro Direct LLC                       Attn.: Dan Lawler
      Attn.: Dan Lawler                        Phone: (610) 993‐0070
                                                                                             Trade Debt                                                      $342,006.00
      200 Berwyn Park, Suite 310               Email: dlawler@quattrodirect.com
      Berwyn, Pennsylvania 19312
20    KML Law Group PC                         Attn.: Lisa Lee
      Attn.: Lisa Lee                          Phone: (215) 627‐1322                        Professional
                                                                                                                                                             $332,535.00
      701 Market Street, Suite 5000            Email: llee@kmllawgroup.com                    Services
      Philadelphia, Pennsylvania 19106
21    Phelan Hallinan LLP                      Attn.: Jay Jones
      Attn.: Jay Jones                         Phone: (215) 563‐7000                        Professional
                                                                                                                                                             $305,245.00
      1617 JFK Blvd., Suite 1400               Email: jay.jones@phelanhallinan.com            Services
      Philadelphia, Pennsylvania 19103‐1814
22    Insight Direct/ Datalink                 Attn.: Michael Schmidt
      Attn.: Michael Schmidt                   Phone: (651) 260‐4017
                                                                                             Trade Debt                                                      $300,279.00
      6820 South Harl Avenue                   Email: Michael.schmidt@insight.com
      Tempe, Arizona 85283

Official Form 204                             List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                 Page 2
             19-10412-jlg               Doc 1        Filed 02/11/19 Entered 02/11/19 04:07:10                                 Main Document
                                                                  Pg 45 of 47


Name of creditor and complete mailing            Name, telephone number, and email           Nature of the      Indicate if   Amount of unsecured claim
address, including zip code                      address of creditor contact                      claim          claim is     If the claim is fully unsecured, fill in only
                                                                                             (for example,     contingent,    unsecured claim amount. If claim is partially
                                                                                              trade debts,    unliquidated,   secured, fill in total claim amount and
                                                                                              bank loans,      or disputed    deduction for value of collateral or setoff to
                                                                                              professional                    calculate unsecured claim.
                                                                                             services, and
                                                                                              government
                                                                                               contracts)
                                                                                                                                Total        Deduction          Unsecured
                                                                                                                              claim, if     for value of          claim
                                                                                                                              partially     collateral or
                                                                                                                              secured          setoff
23    TCS America                                Attn.: Prashant Panghal
      Attn.: Prashant Panghal                    Phone: (732) 986‐6921
                                                                                               Trade Debt                                                      $297,383.00
      379 Thornall Street                        Email: prashant1.p@tcs.com
      Edison, New Jersey 08837
24    Robertson Anschutz & Schneid PL            Attn.: Eric L. Bronfeld
      Attn.: Eric L. Bronfeld                    Phone: (561) 241‐6901                        Professional
                                                                                                                                                               $290,502.00
      6409 Congress Avenue, Suite 100            Email: arcollections@rasflaw.com               Services
      Boca Raton, Florida 33487
25    American Bankers Insurance                 Attn.: Michelle Griffith
      Attn.: Michelle Griffith                   Phone: (305) 253‐2244
                                                                                               Trade Debt                                                      $285,213.00
      11222 Quail Roost Drive                    Email: michelle.griffith@assurant.com
      Miami, Florida 33157
26    Indecomm Holdings Inc.                     Attn.: Teddi Horan
      Attn.: Teddi Horan                         Phone: (215) 962‐7212
      205 Regency Executive Park Drive, Suite    Email: teddi.horan@indecomm.net               Trade Debt                                                      $284,830.00
      500
      Charlotte, North Carolina 28217
27    Wells Fargo Bank N.A                       Attn.: Holly Monday
      Attn.: Holly Monday                        Phone: (703) 865‐7740
                                                                                               Trade Debt                                                      $271,624.00
      420 Montgomery Street                      Email: holly.monday@wellsfargo.com
      San Francisco, California 94104
28    Newcourse Communications Inc.              Attn.: Valerie Griffin
      Attn.: Valerie Griffin                     Phone: (615) 921‐6656
                                                                                               Trade Debt                                                      $270,000.00
      5010 Linbar Dr., Ste. 100                  Email: valerie.griffin@newcoursecc.com
      Nashville, Tennessee 37211
29    Xome Valuation Services                    Attn.: Allen Illgen
      Attn.: Allen Illgen                        Phone: (612) 207‐4012
                                                                                               Trade Debt                                                      $249,474.00
      444 East Washington Street                 Email: allen.illgen@assurant.com
      Indianapolis, Indiana 46204
30    Rean Cloud LLC                             Attn.: Rupa Vasireddy
      Attn.: Rupa Vasireddy                      Phone: (844) 377‐7326
                                                                                               Trade Debt                                                      $240,667.00
      2201 Cooperative Way #250                  Email: rupa@reancloud.com
      Herndon, Virginia 20171
31    US Real Estate Services Inc.               Attn.: Becca Nottberg
      Attn.: Becca Nottberg                      Phone: (949) 206‐5353
      25520 Commerce Centre Drive;               Email: becca.nottberg@res.net                 Trade Debt                                                      $233,284.00
      1st Floor
      Lake Forest, California 92630
32    Operational Excellence                     Attn.: Tony Galluzzo
      Attn.: Tony Galluzzo                       Phone: (949) 988‐7229
                                                                                               Trade Debt                                                      $231,378.00
      19712 MacArthur Blvd., Suite 110           Email: tgalluzzo@ca‐usa.com
      Irvine, California 92612
33    US Bank Trust NA                           Attn.: Kirk Larson
      Att.: Kirk Larson                          Phone: (651) 466‐5666
                                                                                               Trade Debt                                                      $230,809.00
      300 East Delaware; 8th Floor               Email: kirk.larson1@usbank.com
      Wilmington, Delaware 19809
34    Wolfe & Wyman LLP                          Attn.: Stuart B. Wolfe
      Attn.: Stuart B. Wolfe                     Phone: (602) 953‐0100                        Professional
                                                                                                                                                               $228,398.00
      11811 N. Tatum, Suite 3031                 Email: sbwolfe@wolfewyman.com                  Services
      Phoenix, Arizona 85028‐1621
35    Five Brothers Mortgage Servs               Attn.: Dawn Whiteaker
      Attn.: Dawn Whiteaker                      Phone: (586) 354‐2017
                                                                                               Trade Debt                                                      $224,947.00
      12220 E. 13 Mile Road; Suite 100           Email: dawnrw@fiveonline.com
      Warren, Missouri 48093




Official Form 204                               List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                 Page 3
             19-10412-jlg               Doc 1      Filed 02/11/19 Entered 02/11/19 04:07:10                                 Main Document
                                                                Pg 46 of 47


Name of creditor and complete mailing          Name, telephone number, and email           Nature of the      Indicate if   Amount of unsecured claim
address, including zip code                    address of creditor contact                      claim          claim is     If the claim is fully unsecured, fill in only
                                                                                           (for example,     contingent,    unsecured claim amount. If claim is partially
                                                                                            trade debts,    unliquidated,   secured, fill in total claim amount and
                                                                                            bank loans,      or disputed    deduction for value of collateral or setoff to
                                                                                            professional                    calculate unsecured claim.
                                                                                           services, and
                                                                                            government
                                                                                             contracts)
                                                                                                                              Total        Deduction          Unsecured
                                                                                                                            claim, if     for value of          claim
                                                                                                                            partially     collateral or
                                                                                                                            secured          setoff
36    Servicelink Default Title & Closing      Attn.: Joe Greve
      Attn.: Joe Greve                         Phone: (216) 374‐1888
                                                                                             Trade Debt                                                      $218,298.00
      1355 Cherrington Parkway                 Email: joe.greve@svclnk.com
      Moon Township, Pennsylvania 15108
37    Level 3 Communications LLC               Attn.: Timothy McGraw
      Attn.: Timothy McGraw                    Phone: (612) 392‐7364
                                                                                             Trade Debt                                                      $209,330.00
      600 W. Chicago Avnue, Suite 325          Email: timothy.mcgraw@level3.com
      Chicago, Illinois 60654
38    Xome Field Services LLC                  Attn.: Allen Illgen
      Attn.: Allen Illgen                      Phone: (612) 207‐4012
                                                                                             Trade Debt                                                      $206,077.00
      444 East Washington Street               Email: allen.illgen@assurant.com
      Indianapolis, Indiana 46204
39    RAS Boriskin LLC                         Attn.: Sara Boriskin
      Attn.: Sara Borskin                      Phone: (516) 280‐7675
                                                                                             Trade Debt                                                      $202,336.00
      900 Merchants Concourse                  Email: sboriskin@rasboriskin.com
      Westbury, New York 11590
40    ISGN Corporation                         Attn.: E. Rock Primas
      Attn.: E. Rock Primas                    Phone: (609) 932‐4712
                                                                                             Trade Debt                                                      $200,850.00
      2330 Commerce Park Drive, NE, Suite 2    Email: rock.primas@isgnsolutions.com
      Palm Bay, Florida 32905




Official Form 204                             List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                 Page 4
        19-10412-jlg           Doc 1       Filed 02/11/19 Entered 02/11/19 04:07:10                                Main Document
                                                        Pg 47 of 47



Fill in this information to identify the case:

Debtor name:        Ditech Holding Corporation
United States Bankruptcy Court for the Southern District of New York
                                                                    (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is
    true and correct:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
    ☐       Other document that requires a declaration

    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on February 11, 2019
                                                        /s/ Kimberly Perez
                                                         Signature of individual signing on behalf of debtor
                      MM /DD /YYYY
                                                          Kimberly Perez
                                                         Printed name

                                                          Senior Vice President and Chief Accounting Officer
                                                         Position or relationship to debtor




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
